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                   Exhibit 4
Sent:    Thur 3/17/2022 3:26:31 PM (UTC)
From:                Case 3:21-cv-05227-JD Document 360-5 Filed 03/27/23 Page 2 of 3
         ethanyoung@google.com
To:      ethanyoung@google.com, margaretlam@google.com
Subject: AAAA4RKG7pM-MBI-FLAT:2022-03-16T20:26:30.092879


 ethanyoung@google.com 2022-03-17T15:26:30.092Z

 As we are talking about RSA, I have turned on history as per policy.

 margaretlam@google.com 2022-03-17T15:33:15.718Z

 Hi Ethan, can you let me know what the policy you're referring to?

 margaretlam@google.com 2022-03-17T15:33:23.807Z

 I'd prefer to have history off

 ethanyoung@google.com 2022-03-17T15:33:45.555Z

 legal/comp can confirm but anything convo regarding RSA i have to have history on

 margaretlam@google.com 2022-03-17T15:33:45.830Z

 I talk about RSA related things all day and I don't have history on for all my chats :)

 ethanyoung@google.com 2022-03-17T15:33:58.371Z

 we cannot delete it. I am also on multiple legal hold

 margaretlam@google.com 2022-03-17T15:34:02.578Z

 Ok maybe I take you off this convo

 margaretlam@google.com 2022-03-17T15:34:08.567Z

 As am I...

 ethanyoung@google.com 2022-03-17T15:35:12.807Z

 sry why do you prefer to have history off? i think we should have record of our convo so there are no
 miscomm/understanding no?

 margaretlam@google.com 2022-03-17T15:35:26.447Z

 I can ping Marie and Michael separately. Included you for visibility

 margaretlam@google.com 2022-03-17T15:35:41.445Z

 Yes I do prefer history off

 ethanyoung@google.com 2022-03-17T15:37:01.904Z

 pls keep BD team (me) included on any convo regarding Nothing RSA planning

 ethanyoung@google.com 2022-03-17T15:37:32.226Z

 i can send an official email to confirm regarding history but that was the training i had received

 margaretlam@google.com 2022-03-17T15:39:11.475Z

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Of course I'll keep you included.
                      Case        But sounds like we
                            3:21-cv-05227-JD         have to keep
                                                  Document        history
                                                              360-5       on in
                                                                       Filed    this convoPage
                                                                              03/27/23     specifically.
                                                                                                 3 of 3 But not in our 1:1
chats about RSAs or my 1:1 chats with Marie/Michael about RSAs

margaretlam@google.com 2022-03-17T15:39:18.856Z

So that's why I'd prefer to move away from this group chat

margaretlam@google.com 2022-03-17T15:39:42.832Z

It's just causing more touchpoints on my end but I respect you following your training

ethanyoung@google.com 2022-03-17T15:40:36.082Z

ty :) if you feel uncomfortable with history being on here, i understand.

ethanyoung@google.com 2022-03-17T15:41:01.592Z

but even if history is off here, these are all saved on servers anyway

margaretlam@google.com 2022-03-17T15:44:15.150Z

Thanks Ethan!




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